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                  AMENDED AND RESTATED FUNDING AGREEMENT

        This AMENDED AND RESTATED FUNDING AGREEMENT, dated October 12, 2021
(as it may be amended, restated, modified or supplemented from time to time, this “Agreement”),
is by and among JOHNSON & JOHNSON, a New Jersey corporation (“J&J”), JOHNSON &
JOHNSON CONSUMER INC., a New Jersey corporation (“JJCI”), and LTL MANAGEMENT
LLC, a North Carolina limited liability company (“LTL”).

                                            RECITALS

         A.    On the date hereof, but prior to the execution of this Agreement, in contemplation
of the divisional merger (the “Divisional Merger”) of Chenango Zero LLC, a Texas limited
liability company (“Chenango”), pursuant to Chapter 10 of the Texas Business Organizations
Code, J&J and Currahee Holding Company Inc., a New Jersey corporation (“Currahee”), as
payors, and Chenango, as payee, executed and delivered a funding agreement dated as of
October 12, 2021 (the “Original Funding Agreement”).

       B.     Immediately following the execution and delivery of the Original Funding
Agreement, Currahee, in its capacity as the sole member of Chenango approved a Plan of
Divisional Merger contemplating the Divisional Merger (the “Plan of Divisional Merger”).

         C.     At the effective time of the Divisional Merger, (1) certain property of Chenango
as set forth on Schedule 5(b)(i) to the Plan of Divisional Merger and certain liabilities and
obligations of Chenango as set forth on Schedule 5(c)(i) to the Plan of Divisional Merger
(collectively, the “Allocated Assets and Liabilities”) were allocated to a new Texas limited
liability company created upon the effectiveness of the Divisional Merger (“Chenango One”), (2)
the remaining property, liabilities and obligations of Chenango were allocated to another new
Texas limited liability company created upon effectiveness of the Divisional Merger (“Chenango
Two”), and (3) Chenango ceased to exist.

        D.      Pursuant to the Original Funding Agreement, J&J and Currahee agreed, on a joint
and several basis, to provide funding to Chenango sufficient to pay the costs of operations of
Chenango’s business and other liabilities and obligations included in the Allocated Assets and
Liabilities as and when they become due.

        E.      The Allocated Assets and Liabilities included the rights and obligations of
Chenango under the Original Funding Agreement, and, at the effective time of the Divisional
Merger, pursuant to the terms of the Plan of Divisional Merger, the rights and obligations of
Chenango under the Original Funding Agreement were allocated to Chenango One such that,
following the effectiveness of the Divisional Merger, Chenango One had assets having a value at
least equal to its liabilities and had financial capacity sufficient to satisfy its obligations as they
become due in the ordinary course of business, including any Talc Related Liabilities.

       F.      Following the Divisional Merger, (1) Chenango One effected a conversion (the
“NC Conversion”) into a North Carolina limited liability company and changed its name to
“LTL Management LLC” and (2) Chenango Two effected a merger (the “TX-to-NJ Merger”)
with and into Currahee, which changed its name to “Johnson & Johnson Consumer Inc.”
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        G.      Payors and Payee desire to amend and restate the Original Funding Agreement to
reflect that the Divisional Merger, the NC Conversion and the TX-to-NJ Merger have occurred
and that JJCI, now a New Jersey corporation having the name “Johnson & Johnson Consumer
Inc.,” and Payee, now a North Carolina limited liability company having the name “LTL
Management LLC,” are the parties to such agreement.

                                         AGREEMENT

       NOW, THEREFORE, in consideration of the foregoing, the parties hereto agree as
follows:

       1.      Definitions. As used in this Agreement, the following terms have the meanings
herein specified unless the context otherwise requires:

        “Affiliate” of any specified Person means any other Person directly or indirectly
controlling or controlled by or under direct or indirect common control with such specified
Person. For purposes of this definition, “control,” as used with respect to any Person, means the
possession, directly or indirectly, of the power to direct or cause the direction of the management
or policies of such Person, whether through the ownership of voting securities, by agreement or
otherwise. For purposes of this definition, the terms “controlling,” “controlled by” and “under
common control with” have correlative meanings.

       “Agreement” has the meaning specified in the first paragraph hereof.

      “Allocated Assets and Liabilities” has the meaning specified in the recitals to this
Agreement.

     “Bankruptcy Case” means any voluntary case under chapter 11 of the Bankruptcy Code
commenced by the Payee in the Bankruptcy Court.

       “Bankruptcy Code” means title 11 of the United States Code, as amended from time to
time and any successor statute and all rules and regulations promulgated thereunder.

        “Bankruptcy Court” means the United States Bankruptcy Court where the Bankruptcy
Case is commenced.

       “Base Rate” means, for any day, a fluctuating interest rate per annum as shall be in effect
from time to time, which rate per annum shall at all times be equal to the Federal Funds Effective
Rate in effect from time to time, determined one Business Day in arrears, plus 1/2 of 1% per
annum.

       “Board” means: (a) with respect to a corporation, the board of directors of the corporation
or any committee thereof; (b) with respect to a partnership, the board of directors, the managing
member or members or the board of managers, as applicable, of the general partner of the
partnership; (c) with respect to a limited liability company, the managing member or members or
the board of managers, as applicable, of the limited liability company; and (d) with respect to any
other Person, the board or committee of such Person serving a similar function.




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        “Business Day” means each day other than a Saturday, a Sunday or a day on which
banking institutions in Charlotte, North Carolina or at a place of payment are authorized by law,
regulation or executive order to remain closed.

         “Capital Stock” means: (a) in the case of a corporation, corporate stock; (b) in the case of
an association or business entity, any and all shares, interests, participations, rights or other
equivalents (however designated) of corporate stock; (c) in the case of a partnership or limited
liability company, partnership or membership interests (whether general or limited); and (d) any
other interest or participation that confers on a Person the right to receive a share of the profits
and losses of, or distributions of assets of, the issuing Person; but excluding (in each case of (a)
through (d) above) any debt securities convertible into such equity securities.

         “Chenango” has the meaning specified in recitals to this Agreement.

         “Chenango One” has the meaning specified in the recitals to this Agreement.

         “Chenango Two” has the meaning specified in the recitals to this Agreement.

       “Contractual Obligation” means, as to any Person, any obligation or similar provision of
any security issued by such Person or any agreement, instrument or other undertaking (excluding
this Agreement) to which such Person is a party or by which it or any of its property is bound.

         “Currahee” has the meaning specified in first paragraph of this Agreement.

       “Default” means any event that is, or with the passage of time or the giving of notice or
both would be, an Event of Default.

         “District Court” means the United States District Court in the district of the Bankruptcy
Court.

         “Divisional Merger” has the meaning specified in the recitals to this Agreement.

         “Event of Default” has the meaning specified in Section 6.

        “Federal Funds Effective Rate” means, for any period, a fluctuating interest rate equal for
each day during such period to the weighted average of the rates on overnight Federal Funds
transactions with members of the Federal Reserve System arranged by Federal Funds brokers, as
published for such day (or, if such day is not a Business Day, for the next preceding Business
Day) by the Federal Reserve Bank of New York.

       “Funding Account” means the account of the Payee listed on Schedule 2 to this
Agreement, into which the proceeds of all Payments made under this Agreement shall be
deposited, or such other account designated in writing by the Payee to the Payors from time to
time.

         “Funding Date” has the meaning specified in Section 2(b).

         “Funding Request” has the meaning specified in Section 2(b).



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        “GAAP” means generally accepted accounting principles in the United States set forth in
the opinions and pronouncements of the Accounting Principles Board and the American Institute
of Certified Public Accountants and statements and pronouncements of the Financial Accounting
Standards Board or such other principles as may be approved by a significant segment of the
accounting profession in the United States, in effect from time to time, consistently applied.

        “Governmental Authority” means the government of the United States or any other
nation, or of any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality regulatory body, court, central bank or other entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
government.

       “J&J” has the meaning specified in first paragraph of this Agreement.

       “JJCI” has the meaning specified in first paragraph of this Agreement.

       “JJCI Value” means the greater of:

               (a)     the fair market value of the businesses and other assets (including equity
       interests) held by Chenango, as determined (i) immediately prior to the effective time of
       the Divisional Merger, (ii) assuming the Allocated Assets and Liabilities are not held by
       Chenango, and (iii) based on the aggregate amount that would be received upon a sale of
       such businesses and other assets in one or more (as would maximize the aggregate
       amount) market transactions between prudent parties, acting at arms’ length, under no
       compulsion to act and having reasonable knowledge of relevant information concerning
       such businesses and other assets; and

               (b)    the sum of:

                       (i)     the fair market value of the businesses and other assets (including
               equity interests) held by Chenango Two or, after the TX-to-NJ Merger, JJCI, as
               determined (A) as of the applicable calculation date, (B) assuming neither
               Chenango Two nor, after the TX-to-NJ Merger, JJCI has any obligations under
               this Agreement, and (C) based on the aggregate amount that would be received
               upon a sale of such businesses and other assets in one or more (as would
               maximize the aggregate amount) market transactions between prudent parties,
               acting at arms’ length, under no compulsion to act and having reasonable
               knowledge of relevant information concerning such businesses and other assets;
               and

                       (ii)    the fair market value of any businesses or other assets (including
               equity interests) held by Chenango Two or, after the TX-to-NJ Merger, JJCI that,
               following the effective time of the Divisional Merger and prior to the applicable
               calculation date, are distributed by Chenango Two or, after the TX-to-NJ Merger,
               JJCI to its members, as determined (A) at the time of such distribution and (B)
               based on the aggregate amount that would be received upon a sale of such
               businesses or other assets in one or more (as would maximize the aggregate
               amount) market transactions between prudent parties, acting at arms’ length,


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               under no compulsion to act and having reasonable knowledge of relevant
               information concerning such businesses or other assets.

       “LTL” has the meaning specified in the first paragraph of this Agreement.

       “NC Conversion” has the meaning specified in the recitals to this Agreement.

        “Organizational Documents” means: (a) with respect to any corporation, its certificate or
articles of incorporation and bylaws; (b) with respect to any limited liability company, its
certificate or articles of formation or organization and operating agreement; and (c) with respect
to any partnership, joint venture, trust or other form of business entity, the partnership, joint
venture or other applicable agreement of formation or organization and any agreement,
instrument, filing or notice with respect thereto filed in connection with its formation or
organization with the applicable Governmental Authority in the jurisdiction of its formation or
organization and, if applicable, any certificate or articles of formation of such entity.

      “Original Funding Agreement” has the meaning specified in the recitals to this
Agreement.

       “Payee” means LTL Management LLC, a North Carolina limited liability company.

       “Payee Affiliate” means any controlled Affiliate of the Payee.

        “Payee Material Adverse Effect” means: (a) a material impairment of the rights and
remedies of the Payors under this Agreement, or of the ability of the Payee to perform its
material obligations under this Agreement; or (b) a material adverse effect upon the legality,
validity or enforceability of this Agreement against the Payee.

       “Payment” has the meaning specified in Section 2(a).

        “Payor Affiliate” means any Affiliate of a Payor, excluding the Payee and any Payee
Affiliate.

        “Payor Material Adverse Effect” means with respect to a Payor: (a) a material adverse
change in, or a material adverse effect upon, the business, assets, liabilities (actual or contingent)
or financial condition of such Payor and its Subsidiaries, taken as a whole; (b) a material
impairment of the rights and remedies of the Payee under this Agreement, or of the ability of
such Payor to perform its material obligations under this Agreement; or (c) a material adverse
effect upon the legality, validity or enforceability of this Agreement against such Payor.

       “Payors” means J&J and JJCI.

       “Permitted Funding Use” means each of the following:

               (a)    the payment of any and all costs and expenses of the Payee incurred in the
       normal course of its business (including the payment of any indemnification or other
       obligations of the Payee owing to any managers or officers of the Payee) at any time




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     when there is no proceeding under the Bankruptcy Code pending with respect to the
     Payee;

             (b)     the payment of any and all costs and expenses of the Payee incurred
     during the pendency of any Bankruptcy Case, including the costs of administering the
     Bankruptcy Case and any and all other costs and expenses of the Payee incurred in the
     normal course of its business (including the payment of any indemnification or other
     obligations of the Payee owing to any managers or officers of the Payee);

            (c)     the funding of any amounts to satisfy:

                   (i)    the Payee’s Talc Related Liabilities established by a judgment of a
           court of competent jurisdiction or final settlement thereof at any time when there is
           no proceeding under the Bankruptcy Code pending with respect to the Payee;

                  (ii)     following the commencement of any Bankruptcy Case, the Payee’s
           Talc Related Liabilities in connection with the funding of one or more trusts for
           the benefit of existing and future claimants created pursuant to a plan of
           reorganization for the Payee confirmed by a final, nonappealable order of the
           Bankruptcy Court and, to the extent required, the District Court (for the avoidance
           of doubt, regardless of whether such plan of reorganization provides that the
           Payors will receive protection pursuant to section 105 or section 524(g) of the
           Bankruptcy Code and regardless of whether the Payors support such plan of
           reorganization); and

                  (iii)    in the case of either (i) or (ii), any ancillary costs and expenses of
           the Payee associated with such Talc Related Liabilities and any litigation thereof,
           including the costs of any appeals;

            (d)      the funding of any amounts necessary to cause the Funding Account to
     contain at least $5,000,000 at such time;

             (e)     the funding of any obligations of the Payee owed to any Payor or Payor
     Affiliate, including any indemnification or other obligations of the Payee under any
     agreement provided for in the Plan of Divisional Merger; and

            (f)     the payment of any and all costs and expenses of the Payee incurred in
     connection with the pursuit of available remedies to collect any unfunded Payments due
     and owing to the Payee or otherwise to enforce the performance by the Payors, or either
     of them, of any provision of this Agreement;

     in the case of clauses (a) through (e) above, solely to the extent that any cash distributions
     theretofore received by the Payee from its Subsidiaries are insufficient to pay such costs
     and expenses and fund such amounts and obligations in full and further, in the case of
     clause (c)(ii) above, solely to the extent the Payee’s other assets are insufficient to satisfy
     the Payee’s Talc Related Liabilities in connection with the funding of such trust or trusts.




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        “Person” means any individual, corporation, partnership, limited liability company, joint
venture, trust, unincorporated organization, or government or any agency or political subdivision
thereof.

       “Plan of Divisional Merger” has the meaning specified in the recitals to this Agreement.

       “SEC” means the Securities and Exchange Commission.

       “Subsidiary” means, with respect to any Person, any other Person a majority of the
outstanding Voting Stock of which is owned or controlled by such Person or by one or more
other Subsidiaries of such Person and that is consolidated in such Person’s accounts.

       “Talc Related Liabilities” has the meaning specified in Schedule 1 to this Agreement.

       “TX-to-NJ Merger” has the meaning specified in the recitals to this Agreement.

         “Voting Stock” of any Person as of any date means the Capital Stock of such Person that
is at the time entitled to vote in the election of the Board of such Person.

       2.      Funding Obligations and Procedures.

               (a)     Funding Obligations. The Payors hereby agree, on the terms and
conditions set forth in this Agreement, upon the request of the Payee from time to time in
accordance with the requirements of Section 2(b), to make payments to the Payee (each, a
“Payment”), the proceeds of which shall be used by the Payee for a Permitted Funding Use.
Nothing in this Agreement shall obligate the Payors to (i) make Payments under this Agreement
that in the aggregate exceed the lesser of (A) the JJCI Value and (B) the aggregate amount of all
Permitted Funding Uses or (ii) make any individual Payment under this Agreement that exceeds
the amount requested by the Payee in the applicable Funding Request. The JJCI Value shall be
calculated at, and only at, any date on which (x) the Payors refuse to make a requested Payment
under this Agreement based on clause (i) of the immediately preceding sentence and (y) the
Payments made by the Payors under this Agreement prior to such date, together with the
requested Payment, are in the aggregate not in excess of the aggregate amount of all Permitted
Funding Uses.

                (b)    Funding Requests. To request a Payment, the Payee shall deliver to the
Payors a written request (which written request may be a .pdf delivered via email) for such
Payment in a form reasonably acceptable to the Payors and signed by the Payee (each, a
“Funding Request”). Each Funding Request shall specify (i) the amount of the requested
Payment, which shall be no less than $500,000, and (ii) the date of the requested Payment, which
shall be the date that is at least five Business Days following the delivery of such Funding
Request (each such date, a “Funding Date”). Each Funding Request by the Payee shall
constitute a representation and warranty by the Payee that the conditions set forth in Section 2(d)
have been satisfied. Except as required to comply with the minimum requirements in Section
2(b)(i), the Payee shall not deliver a Funding Request for an amount in excess of the aggregate
amount necessary for the Payee to fund all current Permitted Funding Uses and all projected
Permitted Funding Uses over the 30 days following the date of such Funding Request.



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               (c)     Payments. Subject only to the satisfaction of the conditions set forth in
Section 2(d), on or before any Funding Date, the Payors shall pay or cause to be paid to the
Payee an amount equal to the amount of the requested Payment specified in the applicable
Funding Request. All Payments shall be made by wire or other transfer of immediately available
funds, in United States dollars, to the Funding Account. In the event that the Payors do not make
any Payment within the time period required by this Section 2(c), the amount of the requested
Payment shall bear interest at a rate per annum equal to the Base Rate plus 2% until such
Payment is made and the Payors shall include any interest accruing pursuant to this Section 2(c)
in the next Payment made to the Payee.

               (d)      Conditions to Payments. The Payors’ obligation to make any Payment is
subject to the satisfaction of the following conditions as of the date of the Funding Request
relating to such Payment: (i) the representations and warranties of the Payee set forth in Section
3(b) shall be true and correct without regard to the impact of any Bankruptcy Case, including any
notices or other actions that may be required therein; and (ii) there shall have been no violation
by the Payee of the covenant set forth in Section 5.

       3.      Representations and Warranties.

               (a)     Representations and Warranties of the Payor. Each Payor represents and
warrants to the Payee that:

                      (i)     Existence, Qualification and Power. Such Payor (A) is duly
               organized or formed, validly existing and, as applicable, in good standing under
               the laws of its jurisdiction of incorporation or organization, (B) has all requisite
               power and authority and all requisite governmental licenses, authorizations,
               consents and approvals to (I) own or lease its material assets and carry on its
               business and (II) execute, deliver and perform its obligations under this
               Agreement, and (C) is duly qualified and is licensed and, as applicable, in good
               standing under the laws of each jurisdiction where its ownership, lease or
               operation of properties or the conduct of its business requires such qualification or
               license; except in each case referred to in clause (B)(I) or (C), to the extent that
               failure to do so could not reasonably be expected to have a Payor Material
               Adverse Effect with respect to such Payor.

                       (ii)    Authorization; No Contravention. The execution, delivery and
               performance by such Payor of this Agreement has been duly authorized by all
               necessary corporate or other organizational action, and does not and will not (A)
               contravene the terms of its Organizational Documents, (B) conflict with or result
               in any breach or contravention of, or the creation of any lien under, or require any
               payment to be made under (I) any Contractual Obligation to which it is a party or
               affecting it or its properties or (II) any order, injunction, writ or decree of any
               Governmental Authority or any arbitral award to which it or its property is
               subject, or (C) violate any applicable law; except in each case referred to in clause
               (B) or (C), to the extent the failure to do so could not reasonably be expected to
               have a Payor Material Adverse Effect with respect to such Payor.




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                    (iii)  Governmental Authorization; Other Consents. No approval,
             consent, exemption, authorization or other action by, or notice to, or filing with,
             any Governmental Authority or any other Person is necessary or required in
             connection with the execution, delivery or performance of this Agreement by, or
             enforcement of this Agreement against, such Payor.

                     (iv)    Binding Effect. This Agreement has been duly executed and
             delivered by such Payor. This Agreement constitutes a legal, valid and binding
             obligation of such Payor, enforceable against such Payor in accordance with its
             terms, except to the extent such enforceability may be limited by bankruptcy,
             insolvency, reorganization, moratorium or similar laws relating to or limiting
             creditors’ rights generally and by equitable principles.

             (b)      Representations and Warranties of the Payee. The Payee represents and
warrants to the Payors that:

                    (i)     Existence, Qualification and Power. The Payee (A) is duly
             organized or formed, validly existing and, as applicable, in good standing under
             the laws of its jurisdiction of incorporation or organization, (B) has all requisite
             power and authority and all requisite governmental licenses, authorizations,
             consents and approvals to (I) own or lease its material assets and carry on its
             business and (II) execute, deliver and perform its obligations under this
             Agreement and (C) is duly qualified and is licensed and, as applicable, in good
             standing under the laws of each jurisdiction where its ownership, lease or
             operation of properties or the conduct of its business requires such qualification or
             license; except in each case referred to in clause (B)(I) or (C), to the extent that
             failure to do so could not reasonably be expected to have a Payee Material
             Adverse Effect.

                     (ii)    Authorization; No Contravention. The execution, delivery and
             performance by the Payee of this Agreement has been duly authorized by all
             necessary corporate or other organizational action, and does not and will not (A)
             contravene the terms of its Organizational Documents, (B) conflict with or result
             in any breach or contravention of, or the creation of any lien under, or require any
             payment to be made under (I) any Contractual Obligation to which it is a party or
             affecting it or its properties or (II) any order, injunction, writ or decree of any
             Governmental Authority or any arbitral award to which it or its property is
             subject, or (C) violate any applicable law; except in each case referred to in clause
             (B) or (C), to the extent the failure to do so could not reasonably be expected to
             have a Payee Material Adverse Effect.

                    (iii)  Governmental Authorization; Other Consents. No approval,
             consent, exemption, authorization or other action by, or notice to, or filing with,
             any Governmental Authority or any other Person is necessary or required in
             connection with the execution, delivery or performance of this Agreement by, or
             enforcement of this Agreement against, the Payee.




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                       (iv)    Binding Effect. This Agreement has been duly executed and
               delivered by the Payee. This Agreement constitutes a legal, valid and binding
               obligation of the Payee, enforceable against the Payee in accordance with its
               terms, except to the extent such enforceability may be limited by bankruptcy,
               insolvency, reorganization, moratorium or similar laws relating to or limiting
               creditors’ rights generally and by equitable principles.

       4.      Covenants of the Payors.

               (a)     Provision of Financial Information.

                       (i)     No later than 90 days after the end of each fiscal year (in the case
of annual financial statements) and 60 days after the end of each fiscal quarter other than the last
fiscal quarter (in the case of quarterly financial statements), (A) J&J will furnish to the Payee
audited annual and unaudited quarterly consolidated financial statements of J&J prepared in
accordance with GAAP, subject, with respect to quarterly financial statements, normal year-end
audit adjustments, and (B) Currahee will furnish to the Payee unaudited annual and quarterly
income statements and balance sheets of Currahee prepared in accordance with GAAP and
Currahee’s historical cost basis of its subsidiaries, subject to the absence of notes to the financial
statements and related disclosures and, with respect to quarterly financial statements, normal
year-end adjustments.

                       (ii)    By accepting such financial information, the Payee will be deemed
to have represented to and agreed with the Payor furnishing such financial information that: (A)
it will not use the information in violation of applicable securities laws or regulations; and (B) it
will not communicate the information to any Person, including in any aggregated or converted
form, and will keep the information confidential, other than where disclosure of such information
is required by law, regulation or legal process (in which case the Payee shall, to the extent
permitted by law, notify such Payor promptly thereof); provided, however, that the Payee may
deliver a copy thereof to counsel for any official committee of claimants and any future
claimants’ representative appointed in any Bankruptcy Case on a confidential basis under a
protective order entered in such Bankruptcy Case.

                        (iii)   Notwithstanding the foregoing, but subject to the last sentence of
this Section 4(a)(iii), the financial information required to be furnished as described in
Section 4(a)(i) may be, rather than that of a Payor, those of any direct or indirect parent of such
Payor. Notwithstanding the foregoing, a Payor may fulfill the requirement to furnish such
financial information by filing the information with the SEC within the applicable time periods
required by the SEC. Subject to the last sentence of this Section 4(a)(iii), a Payor will be deemed
to have satisfied the requirements of Section 4(a)(i) if any direct or indirect parent of such Payor
has filed such reports containing the required information with the SEC within the applicable
time periods required by the SEC and such reports are publicly available. To the extent a direct
or indirect parent of a Payor furnishes financial information pursuant to the first sentence of this
Section 4(a)(iii) or such parent files a report with the SEC pursuant to the third sentence of this
Section 4(a)(iii), and if the financial information so furnished relates to such direct or indirect
parent of such Payor, the same shall be accompanied by consolidating information that explains
in reasonable detail the difference between the information relating to such parent, on the one



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hand, and the information relating to such Payor and its Subsidiaries on a standalone basis, on
the other hand.

               (b)     Successor to J&J upon Consolidation or Merger.

                        (i)     Subject to the provisions of Sections 4(b)(ii) and 4(b)(iii), nothing
contained in this Agreement shall prevent any consolidation or merger of J&J with or into any
Person, or successive consolidations or mergers in which J&J or its successor or successors shall
be a party or parties, or shall prevent any sale, assignment, transfer, lease, conveyance or other
disposition of all or substantially all the property of J&J (for the avoidance of doubt, calculated
by including any equity interests held by J&J), to any Person; provided, however, that J&J
hereby covenants and agrees, that, if the surviving Person, acquiring Person or lessee is a Person
other than J&J, upon any such consolidation, merger, sale, assignment, transfer, lease,
conveyance or other disposition, all of J&J’s funding obligations under this Agreement and the
observance of all other covenants and conditions of this Agreement to be performed by J&J,
shall be expressly assumed, by an amendment to this Agreement or such other documentation in
form reasonably satisfactory to the Payee executed and delivered to the Payee, by the Person
formed by such consolidation, or into which J&J shall have been merged, or by the Person which
shall have acquired or leased such property. This covenant will not apply to (A) a merger of J&J
with an Affiliate thereof solely for the purpose of reincorporating J&J in another jurisdiction
within the United States, (B) any conversion of J&J from an entity formed under the laws of one
state to the same type of entity formed under the laws of another state, or (C) any conversion of
J&J from a limited liability company to a corporation, from a corporation to a limited liability
company, from a limited liability company to a limited partnership or a similar conversion,
whether the converting entity and the converted entity are formed under the laws of the same
state or the converting entity is formed under the laws of one state and the converted entity is
formed of the laws of a different state. Notwithstanding the foregoing, this Section 4(b)(i) will
not apply to any consolidation or merger, or any sale, assignment, transfer, conveyance, lease or
other disposition of assets, between or among J&J and its Subsidiaries.

                       (ii)     Upon any consolidation or merger, or any sale, assignment,
transfer, lease, conveyance or other disposition of all or substantially all of the assets, of J&J (for
the avoidance of doubt, calculated by including any equity interests held by J&J) in a transaction
that is subject to, and that complies with, the provisions of the preceding clause (i), the successor
Person formed by such consolidation with J&J or into which J&J is merged, or to which such
sale, assignment, transfer, lease, conveyance or other disposition is made, shall succeed to, and
be substituted for (so that from and after the date of such consolidation, merger, sale, lease,
conveyance or other disposition, the provisions of this Agreement referring to J&J, including as a
Payor, shall refer instead to the successor Person and not to J&J), and may exercise every right
and power of, J&J, including as a Payor, under this Agreement with the same effect as if such
successor Person had been named herein. In the event of a succession in compliance with this
Section 4(b)(ii), the predecessor Person shall be relieved from every obligation and covenant
under this Agreement upon the consummation of such succession.

                       (iii)Any consolidation, merger, sale, assignment, transfer, lease,
conveyance or other disposition referred to in the preceding clause (i) shall not be permitted




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under this Agreement unless immediately after giving effect to such transaction, no Default or
Event of Default shall have occurred and be continuing.

       5.      Covenants of the Payee. The Payee shall not use the proceeds of any Payment
made under this Agreement for any purpose other than a Permitted Funding Use. The Payee will
perform its indemnification obligations under the agreements provided for in the Plan of
Divisional Merger in all material respects, subject, in the event that a proceeding under the
Bankruptcy Code is pending with respect to the Payee, to the resulting automatic stay under
section 362 of the Bankruptcy Code.

       6.     Events of Default.       Each of the following events constitutes an “Event of
Default”:

              (a)     the Payors default in the funding obligations pursuant to Section 2 and
       such default continues for a period of 10 Business Days;

               (b)    a Payor defaults in the performance of, or breaches, any covenant or
       representation or warranty of such Payor in this Agreement (other than a covenant or
       representation or warranty which is specifically dealt with elsewhere in this Section 6)
       and such default or breach continues for a period of 30 days, or, in the case of any failure
       to comply with Section 4(a) of this Agreement, 60 days, in each case after there has been
       given, by registered or certified mail, to such Payor by the Payee a written notice
       specifying such default or breach and requiring it to be remedied and stating that such
       notice is a “Notice of Default” hereunder;

              (c)      a Payor, pursuant to or within the meaning of the Bankruptcy Code or any
       similar federal or state law for the relief of debtors, (i) commences a voluntary case, (ii)
       consents to the entry of an order for relief against it in an involuntary case, (iii) consents
       to the appointment of a custodian of it or for all or substantially all of its property, (iv)
       makes a general assignment for the benefit of its creditors, or (v) generally is not paying
       its debts as they become due; and

               (d)     a court of competent jurisdiction enters an order or decree under the
       Bankruptcy Code or any similar federal or state law for the relief of debtors that (i) is for
       relief against a Payor, (ii) appoints a custodian of a Payor for all or substantially all of the
       property of a Payor, or (iii) orders the liquidation of a Payor, and, in each case of (i)
       through (iii) above, such order or decree remains unstayed and in effect for 60
       consecutive days.

        Upon becoming aware of any Default or Event of Default, a Payor shall promptly deliver
to the Payee a statement specifying such Default or Event of Default.

        7.     Remedies. Upon the occurrence of any Event of Default, and at any time
thereafter during the continuance of any such Event of Default, the Payee may pursue any
available remedy to collect any unfunded Payments due and owing to the Payee or to enforce the
performance of any provision of this Agreement.




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       8.       Notices. All notices required under this Agreement, including each Funding
Request and any approval of or objection to a Funding Request, shall be delivered to the
applicable party to this Agreement at the address set forth below. Unless otherwise specified
herein, delivery of any such notice by email, facsimile or other electronic transmission (including
.pdf) shall be effective as delivery of a manually executed counterpart thereof.

       Payors:

       Johnson & Johnson
       One Johnson & Johnson Plaza
       New Brunswick, NJ 08933
       Attention: Michelle Ryan, Treasurer
       Email: mryan1@its.jnj.com

       Johnson & Johnson Consumer Inc.
       199 Grandview Road
       Skillman, NJ 08558
       Attention: Michelle Goodridge, President
       Email: mgoodrid@its.jnj.com

       Payee:

       LTL Management LLC
       501 George Street
       New Brunswick, NJ 08933
       Attention: Robert Wuesthoff, President
       Email: rwhuestho@its.jnj.com

       with a copy to:

       LTL Management LLC
       501 George Street
       New Brunswick, NJ 08933
       Attention: John Kim, Chief Legal Officer
       Email: JKim8@its.jnj.com

        9.      Governing Law; Submission to Jurisdiction. This Agreement shall be governed
and construed in accordance with the laws of the State of North Carolina. Any legal proceeding
seeking to enforce any provision of, or based on any matter arising under, this Agreement may
be brought: (a) at any time there is not a proceeding under the Bankruptcy Code pending with
respect to the Payee, in state or federal court in Charlotte, North Carolina; or (b) at any time there
is a proceeding under the Bankruptcy Code pending with respect to the Payee, in the Bankruptcy
Court. Each Payor and the Payee hereby irrevocably and unconditionally submit to the
jurisdiction of such courts (and of the appropriate appellate courts therefrom) in any such legal
proceeding.




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       10.      No Implied Waiver; Amendments. No failure or delay on the part of the Payee to
exercise any right, power or privilege under this Agreement, and no course of dealing between
the Payors, or either of them, on the one hand, and the Payee, on the other hand, shall operate as
a waiver thereof, nor shall any single or partial exercise of any right, power or privilege under
this Agreement preclude any other or further exercise thereof or the exercise of any other right,
power or privilege. No notice to or demand on the Payors, or either of them, in any case shall
entitle the Payors, or either of them, to any other or further notice or demand in similar or other
circumstances, or constitute a waiver of the right of the holder of this Agreement to any other or
further action in any circumstances without notice or demand. The remedies provided in this
Agreement are cumulative and not exclusive of any remedies provided by law. No amendment
or waiver of any provision of this Agreement, nor consent to any departure by the Payee
therefrom, shall in any event be effective unless the same shall be in writing, specifically refer to
this Agreement, and be signed by the Payors and the Payee, and then such amendment or waiver
shall be effective only in the specific instance and for the specific purpose for which given. A
waiver on any such occasion shall not be construed as a bar to, or waiver of, any such right or
remedy on any future occasion.

       11.     Counterparts; Entire Agreement; Electronic Execution. This Agreement may be
executed in separate counterparts, each of which shall constitute an original, but all of which
when taken together shall constitute a single contract. This Agreement constitutes the entire
contract among the parties hereto relating to the subject matter hereof and supersedes, in its
entirety, the Original Funding Agreement and any and all previous agreements and
understandings, oral or written, relating to the subject matter hereof. This Agreement shall
become effective when it shall have been executed by each party hereto and each party hereto
shall have received counterparts hereof which, when taken together, bear the signatures of each
of party hereto, and thereafter shall be binding upon and inure to the benefit of the parties hereto
and their respective successors and assigns. Delivery of an executed counterpart of a signature
page of this Agreement by telecopy, .pdf or any other electronic means that reproduces an image
of the actual executed signature page shall be effective as delivery of a manually executed
counterpart of this Agreement.

       12.       Severability. If any one or more of the provisions contained in this Agreement
are invalid, illegal or unenforceable in any respect, the validity, legality or enforceability of all
the remaining provisions will not in any way be affected or impaired. If any one or more
provisions contained in this Agreement are deemed invalid, illegal or unenforceable because of
their scope or breadth, such provisions shall be reformed and replaced with provisions whose
scope and breadth are valid under applicable law.

       13.     Transfer; Assignment. This Agreement shall be binding upon each Payor and its
successors and assigns, and the terms and provisions of this Agreement shall inure to the benefit
of the Payee and its successors and assigns. A Payor’s rights and obligations under this
Agreement may not be assigned without the prior written consent of the Payee; provided,
however, that no such consent of the Payee shall be required in connection with any transfer
effectuated in compliance with Section 4(b). The Payee’s rights and obligations under this
Agreement may not be assigned without the prior written consent of the Payors. Any purported
assignment of rights or obligations under this Agreement other than as permitted by this
Section 13 shall be null and void.



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       14.     Construction. The descriptive headings herein are inserted for convenience of
reference only and are not intended to be part of or to affect the meaning or interpretation of this
Agreement. The word “including” means without limitation by reason of enumeration. The
words “hereof,” “herein” and “hereunder” and words of similar import, when used in this
Agreement, refer to this Agreement as a whole and not to any particular provision of this
Agreement. Unless specifically stated otherwise, all references to Sections and Schedules are to
the Sections and Schedules of or to this Agreement.

       15.    Rights of Parties. This Agreement shall not confer any rights or remedies upon
any Person other than the parties hereto and their respective successors and permitted assigns.

       16.      Joint and Several Obligations. Obligations of the Payors under this Agreement
are joint and several.

                                    [Signature Page Follows]




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        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
first written above.

                                      JOHNSON & JOHNSON, a New Jersey corporation,
                                      as a Payor



                                      By: __________________________________________
                                          Michelle Ryan,
                                          Treasurer



                                      JOHNSON & JOHNSON CONSUMER INC., a New
                                      Jersey corporation, as a Payor



                                      By: __________________________________________
                                          Michelle Goodridge,
                                          President



                                      LTL MANAGEMENT LLC, a North Carolina limited
                                      liability company, as the Payee



                                      By: __________________________________________
                                          Robert Wuesthoff,
                                          President




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         IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
 first written above.

                                       JOHNSON & JOHNSON, a New Jersey corporation,
                                       as a Payor




                                       By:-------------------
                                        Michelle Ryan,
                                        Treasurer



                                       JOHNSON & JOHNSON CONSUMER INC., a New
                                       Jersey corporation, as a Payor




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                                             President



                                       LTL MANAGEMENT LLC, a North Carolina limited
                                       liability company, as the Payee




                                       By:----------------
                                        Robert Wuesthoff,
                                        President




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        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
first written above.

                                      JOHNSON & JOHNSON, a New Jersey corporation,
                                      as a Payor



                                      By: __________________________________________
                                          Michelle Ryan,
                                          Treasurer



                                      JOHNSON & JOHNSON CONSUMER INC., a New
                                      Jersey corporation, as a Payor



                                      By: __________________________________________
                                          Michelle Goodridge,
                                          President



                                      LTL MANAGEMENT LLC, a North Carolina limited
                                      liability company, as the Payee



                                      By: __________________________________________
                                          Robert Wuesthoff,
                                          President




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                                         SCHEDULE 1

                             Definition of Talc Related Liabilities

        For purposes of this Agreement, “Talc Related Liabilities” means all Liabilities (as
defined below) of the Payee related in any way to injury or damage, or alleged injury or damage,
sustained or incurred in the purchase or use of, or exposure to, talc, including talc contained in
any product, or to the risk of, or responsibility for, any such damage or injury, including such
Liabilities based on the contamination, or alleged contamination, of talc, including talc contained
in any product, with asbestos or any other material.

       Capitalized terms that are used in this Schedule 1 have the following meanings:

              (a)    “Cause of Action” means any claim, judgment, cause of action,
       counterclaim, crossclaim, third party claim, defense, indemnity claim, reimbursement
       claim, contribution claim, subrogation claim, right of set off, right of recovery,
       recoupment, right under any settlement Contract and similar right, whether choate or
       inchoate, known or unknown, contingent or noncontingent.

              (b)    “Contract” means any contract, agreement, arrangement, lease, indenture,
       mortgage, deed of trust, evidence of indebtedness, License, Plan, guarantee,
       understanding, course of dealing or performance, instrument, bid, order, proposal,
       demand, offer or acceptance, whether written or oral.

               (c)     “Governmental Authority” means any national, central, federal, state,
       provincial, municipal, local or other domestic, foreign or supranational governmental,
       legislative, administrative or regulatory authority, agency, court, arbitration tribunal,
       board, department or commission, or other governmental or regulatory entity, including
       any competent governmental authority responsible for the determination, assessment or
       collection of taxes.

               (d)    “Law” means any national, central, federal, state, provincial, municipal,
       local or other domestic, foreign or supranational statute, law, ordinance, decree, order,
       injunction, rule, regulation, directive, constitution, code, edict, writ, judgment, opinion,
       decree, injunction, stipulation, award or other document or pronouncement having the
       effect of law (including common law) of any Governmental Authority, including rules
       and regulations of any regulatory or self-regulatory authority with which compliance is
       required by any of the foregoing.

                (e)     “Liability” shall mean any claim, demand, offer, acceptance, action, suit,
       liability or obligation of any kind, whether accrued or fixed, absolute or contingent,
       matured or unmatured, determined or determinable, choate or inchoate, asserted or
       unasserted, known or unknown, including (i) those arising or that may arise under any
       past, present or future Law or Contract or pursuant to any Cause of Action or Proceeding
       and (ii) all claims for economic or noneconomic damages or injuries of any type or nature
       whatsoever (including claims for physical, mental and emotional pain and suffering, loss
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     of enjoyment of life, loss of society or consortium and wrongful death, as well as claims
     for damage to property and punitive damages).

            (f)     “License” means any license, sublicense, agreement, covenant not to sue
     or permission.

             (g)    “Person” means any individual, corporation (including any non-profit
     corporation), general or limited partnership, limited liability company, joint venture,
     estate, trust, benefit plan, unincorporated organization, business, syndicate, sole
     proprietorship, association, organization, labor union or other entity or Governmental
     Authority.

             (h)    “Plan” means, with respect to any Person, (i) any “employee benefit plan”
     (as defined in Section 3(3) of ERISA), (ii) all specified fringe benefit plans as defined in
     Section 6039(D) of the Internal Revenue Code, and (iii) any other plan, program, policy,
     agreement or arrangement, whether or not in writing, relating to compensation, employee
     benefits, severance, change in control, retention, deferred compensation, equity,
     employment, consulting, vacation, sick leave, paid time off, salary continuation,
     disability, hospitalization, medical insurance, life insurance, scholarship programs,
     incentive compensation or bonus compensation, in each case that is sponsored,
     maintained or contributed to or required to be sponsored, maintained or contributed to by,
     or otherwise covering, such Person.

             (i)     “Proceeding” means any action, appeal, arbitration, assessment,
     cancellation, charge, citation, claim, complaint, concurrent use, controversy, contested
     matter, demand, grievance, hearing, inquiry, interference, investigation, litigation
     (including class actions and multidistrict litigation), mediation, opposition, re-
     examination, summons, subpoena or suit, or other case or proceeding, whether civil,
     criminal, administrative, judicial or investigative, whether formal or informal, whether
     public or private, commenced, brought, conducted or heard by or before, under the
     supervision or direction of, or otherwise involving, any Governmental Authority or
     arbitrator or other agreed-upon tribunal or dispute resolution mechanism.
